
25 N.Y.2d 822 (1969)
The People of the State of New York, Respondent,
v.
Brian Rice and Robert McAuliffe, Appellants.
Court of Appeals of the State of New York.
Argued June 3, 1969.
Decided July 1, 1969.
John A. Cimarosa for Brian Rice, appellant.
M. Morton Edmiston, Jr. for Robert McAuliffe, appellant.
Carl A. Vergari, District Attorney (James J. Duggan of counsel), for respondent.
Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL and JASEN concur.
*823MEMORANDUM.
Although a promise was made to defendant McAuliffe that the other counts and the separate felony indictment be dismissed, such a dismissal stands only as a part of an entire plea arrangement. If the arrangement be undone then the People and the defendant are entitled to be restored to the status obtaining before the plea. On this view it makes no difference to defendant whether the other counts are dismissed, or as happened in this case, deemed covered by the plea. Unless the plea is vacated he cannot be tried on the remaining counts of the indictment and the separate indictment.
Judgments affirmed in a memorandum.
